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                     Exhibit 5
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                                               FEDERAL BUREAUOF INVESTIGATION


                                                                                                                   Date of entl)'         09/06/2018


            (U) MICHAEL DEAL COHEN (COHEN), date of birth l                                   was interviewed                                                    b6
           in the Special      Counsel ' s Office,        located     at 395 E Street       SE , Washington ,                                                    b7 C

           DC. COHEN was accompanied            by his attorneys,         Guy Petrilo     , Amy Lester , and
           Philip    Pilmar , from the law offices             of Petrilo      Klein    & Boxer   LLP , 655
           Thi rd Avenue,     New Yor k , NY. Pa r ticipat        ing in t he interv iew were FBI
           Special     Agent  (SA)                                  SA
           Intelli   g ence Analyst      (IA) ._ __________                  Forensic     Accountant     (FoA)
           I                            !
                                    Senior    Assistant      Special     Counsel     (SASC) Jeannie     s . Rhee,
           SASC Andrew D. Goldstein,            and Assistant        Special    Counsel    L . Rush Atkinson .
           Purs uan t to signing      a proffer      agreement       and after     being advised      of the
           identity     of the interviewing         agents,     COHEN provided        the following
           information     :

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   lnvestigationon     08/07/2018        at   Washington,         District         Of Columbia       , United        States         (In    Person)

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  Tl:tisdocument.contains neither recommendationsnor conclusions of tbe FBI. It is t.be property of tbe FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.                                                                                                            FBI(19cv1278)-424
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                                                 !TRUMP JUNIOR said to TRUMP that    he was setting    up
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           a mee t ing in order
           whether
                                    to get
                         TRUMP JUNIOR said
                                                   dirt
                                                   "Clint on " or "Hillary         ____________
                                                          on HILLARY CLINTON . (COHEN did not r eca ll
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            (U) Regarding            the     timing     of     the    meeting   , COHEN thought       it   was prior       to
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                                                                                COHEN reviewed
           a calendar    of June 20 1 6 and estimated the conversation    he witnessed
           between    TRUMP JUNI OR and TRUMP was Monday, J u ne 6 , 2016 ,




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            (U) COHEN did            not         have    discussions           with   the   TRUMP CAMPAIGN about            TTM.
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            (U) Nobody           from      the     campaiqn       asked        COHEN how TTM was qoinq           .   I              bS Per     DOJ/OIP




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                                                          U.S. Department of Justice
                                                          The Spedal Counsel's Office


                                                          Washington, D.C. 20530


                                                           August 6, 2018


Guy Pe trillo
Petrillo Klein & Boxer LLP
655 Third Ave.
22nd Floor
New York , NY 10017

            Re :     Michael D. Cohen

Dear Counsel:

        You have indica ted that your cl ient Michae l D. Cohen (hereinafter "Cl ient"), is interested
in providing information to th e government.

        With respect to the meeting between the government, Client and you rself on August 7,
2018 (here inafter "the meeting"), the government will be represented by individuals from the
Spec ial Cou nsel's Office and the Fede ral Bureau of Investigation. The terms of this lette r do not
bind any office or component of the U.S. Department of Justice othe r than those identified in the
preceding sentence. The following terms and conditions app ly to the meeting :

         (1)    THIS IS NOT A COOPERATION AGREEMENT. Cl ient has agreed to prov ide
information to the gove rnm ent , and to respond to questions truthfully and completely. By receiving
Cl ient's proffer, the gove rnment does not agree to make any motion on Cl ient' s beha lf or to ente r
into a cooperation agreement , plea agreement , immunity agreement or non- prosecution agreement
w ith Client. The government makes no representatio n about the likelihood that any suc h agreement
wi ll be reached in connection with t his meeting.

       (2)     Sho uld Client be prosecuted, no statement s made by Cli ent during the meeting will
be used against Client in the government' s case-i n-ch ief at trial or for purposes of sente ncing,
except as prov ided below .

        (3)      The government may use any statement made or information prov ided by Cl ient, or
on Cl ient' s behalf , in a prosecution for false stateme nts, perjury, or obstruct ion of ju stice, premised
on statements or actions during the meet ing . The government may also use any such statement or
information at sentenci ng in suppo1t of an argume nt that Client fai led to provide truthfu l or
comple te informat ion dur ing the meet ing, and , accordi ngly: (a) that under the Un ited States
Sentenc ing Guidelin es, Client is not ent itled to a downward adjustment for acceptance of




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responsibility pursuant to Section 3El . l, or should receive an upward adjustment for obstruction
ofjust ice pursuant to Section 3C I. I; and (b) tha t Client's conduct at the meeting is a relevant factor
und er .18 U.S.C. § 3553(a).

        ( 4) The government may make derivative use of any statements made or other information
provided by Client during the meeting. The refore, the government may pursue any inve stigative
leads obtained direc tly or indirectly from suc h statements and information and may use the
evidence or infor mation subsequently obtained therefr om against Client in any manner and in any
proceeding.

        (5) In any procee ,ding, including se ntencing, the government may use Client's statements
and any information provided by C lient during or in connection with the meeting to cross- exam ine
Client, to rebut any evidence or arguments offered on Client's behalt: or to address any issues or
questions raised by a court on its own initiative.

         (6) Neither this agTeement nor the meeting constitutes a plea discussion or an attempt to
initiate plea discussions. ]n the event this agreement or the meeting is later construed to constitute
a plea discussion or an attempt to initiate plea discussions, Client knowingly and volunta rily
waives any right C lient might have under Fed. R. Evid. 4 I 0, Fed. R. Crim. P. 11(t), or otherwise,
to prohibit the u se against Client of statements made or informati on provided during the meeting.

         (7) The governme nt reserves the right to argue that neither this agreement nor the meeting
constitutes the timely provision of complete information to the governme nt concerning Client ' s
involvement in an offense, within the meaning of Section 3El.l(b) of the Sentencing Guidelines.

       (8) lf and when required to do so by a court, th e government may disclose to the Probation
Office or the court any statements and information provided by Client during the meeting.

        (9) The government may disclose the fact of the meeting or the information provided by
Client during the meeting to the extent the government determines in its sole discretion that
disclosure would be in furtherance of its discharge of its duties and responsibilities or is otherwise
required by law . Such disclosure includes disclosure to a local, state, federnl, or foreign
government office or agency , including but no t lim ited to another prosecutor 's office, if the
recipient of the information agrees to ab ide by the relevant terms of this agreement.

        (10) The terms and cond itions set forth in this agreement extend, if applicable, to the
continuation of the meeting on the date s that appear below.

       ( 11) 1t is underst ood that this agreement is limited to the statements made by Client at the
meeting and does not appfy to any oral, written or recorded statements made by Client at any other
time.

        (12) This document embodies the entirety of the agreement between the governme nt and
Client to provide informat ion and evidence. No other promises, agreements or understandings
exist between Client and the government regarding Client's provision of information or evidence




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to the government.

        (13) Client and Client's attorney acknow ledge that they have read , fully discuss ed and
under stand every parag raph and clause in t his document and the consequence s thereof .




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                                                                                 ROBERTS. MUELL ER, Ill
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                                                                          By:    L. Rush Atkinson
                                                                                 As sistant Special Counsel
                                                                                 The Specia l Coun se l's Office




Guy Petrillo
Attorney for Client




Dates of Conti nuat ion                                  Initials of counsel , Client and government attorney




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